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                                    MINUTES



 CASE NUMBER:           1:17-CR-00101-LEK
 CASE NAME:             United States of America v (01) Anthony T. Williams


      JUDGE:      Kenneth J. Mansfield          REPORTER:

      DATE:       11/26/2018                    TIME:


COURT ACTION: EO:          [374] GOVERNMENT’S MOTION TO CONTINUE
                           DEADLINE TO RESPOND TO MOTION FOR ORDER OF
                           CONTEMPT AGAINST FBI

On November 19, 2018, a hearing was held on [363] Defendant (01) Anthony T.
Williams Motion for Order of Contempt Against the Federal Bureau of Investigation
where the Court took the motion under advisement. On November 23, 2018, the Court
entered an [388] Order Denying the Motion. Therefore, the [374] Government's Motion
to Continue Deadline to Respond to Motion for Order of Contempt Against FBI is
hereby terminated as MOOT.




Submitted by: Bernie Aurio, Courtroom Manager
